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  Fill in this information to identify your case:
  Debtor 1             Karlton               Avery                  Maydwell
                       First Name            Middle Name            Last Name

  Debtor 2            DeShawn                Nicole                 Maydwell
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          19-32994-SGJ-7                                                                                   Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $13,700.00         $13,700.00                 $0.00
Attorney General of Texas
Priority Creditor's Name                                   Last 4 digits of account number
CSD Region 9                                               When was the debt incurred?
Number       Street
2001 Beach Street, Suit 700                                As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Fort Worth                      TX      76103                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                  Case number (if known)       19-32994-SGJ-7

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority         Nonpriority
previous page.                                                                                                   amount           amount


   2.2                                                                                            $3,800.00           $3,800.00          $0.00
Internal Revenue Service
Priority Creditor's Name                              Last 4 digits of account number
Department of the Treasury                            When was the debt incurred?
Number       Street
P.O. Box 7346                                         As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                          Case number (if known)      19-32994-SGJ-7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $868.42
Baylor Med Ctr-Sunnyvale                                    Last 4 digits of account number         4     7    1     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Creditors Bankruptcy Service
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P.O. Box 800849                                                 Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX      75380
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bill
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                              $52.66
Baylor Med Ctr-Sunnyvale                                    Last 4 digits of account number         9     1    9     9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Creditors Bankruptcy Service
Number        Street                                        As of the date you file, the claim is: Check all that apply.
P.O. Box 800849                                                 Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                          TX      75380
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Medical Bill
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                    $429.00
Caine & Weiner                                           Last 4 digits of account number      2 4 8           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/15/2016
12005 Ford Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75234
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Enterprise Rent a Car
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                   $1,928.00
Capital One Bank (USA), N.A.                             Last 4 digits of account number      2 3 3           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/22/2015
4515 N Santa Fe Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Oklahoma City                 OK      73118
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                   $1,146.00
CBE Group                                                Last 4 digits of account number      3 7 4           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/01/2018
4140 Kimball Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waterloo                      IA      50701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Charter Communications
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.6                                                                                                                                   $115.00
City of Dallas                                           Last 4 digits of account number       0    3    5    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
C/O City Secretary's Office
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Dallas City Hall                                             Contingent
1500 Marilla Street, Room 5D South                           Unliquidated
                                                             Disputed
Dallas                        TX      75201-6390
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                   $361.00
Credit Systems International, Inc.                       Last 4 digits of account number      6 9 0           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/14/2016
1277 Country Club Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fort Worth                    TX      76112
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Medical Debt
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                   $265.00
Enhanced Recovery Company                                Last 4 digits of account number      7 9 0           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/08/2017
8014 Bayberry Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32256
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Charter Communications
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.9                                                                                                                               $76,290.00
Federal Loan Servicing                                   Last 4 digits of account number      0 0 0           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/06/2015
P.O. Box 69184
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Harrisburg                    PA      17106
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                   $847.00
First Premier Bank                                       Last 4 digits of account number      6 1 0           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/18/2015
PO Box 5524
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                   $458.00
First Premier Bank                                       Last 4 digits of account number      0 0 7           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/17/2014
PO Box 5524
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.12                                                                                                                                    $832.00
Linebarger Goggan Blair & Sampson, LLP                   Last 4 digits of account number       3    8    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
900 Arion Parkway, Suite 104
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78216
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                   $2,644.20
Linebarger Goggan Blair & Sampson, LLP                   Last 4 digits of account number       3    3    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
900 Arion Parkway, Suite 104
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78216
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                    $221.00
LVNV Funding LLC its successors and assi                 Last 4 digits of account number      5 0 1           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/28/2016
c/o Resurgent Capital Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 10587                                               Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29603-0587
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Webbank Fingerhut
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.15                                                                                                                                   $315.00
Midwest Recovery Systems                                 Last 4 digits of account number      3 9 3           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/28/2016
PO Box 899
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Florissant                    MO      63032
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Six Flags over Texas
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                   $742.00
National Credit Adjusters, LLC                           Last 4 digits of account number      8 7 0           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/21/2017
Attn: Bankruptcy Department
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 3023                                                Contingent
Hutchinson, K.S. 67504                                       Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Cash Store
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                     $0.00
Navy Federal Credit Union                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 3000
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Merrifield                    VA      22119
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 8
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.18                                                                                                                                    $49.00
Neighborhood Credit Union                                Last 4 digits of account number      0 0 3           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/05/2014
13651 Montfort Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75240
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                   $296.31
One Advantage , LLC                                      Last 4 digits of account number       6    5    5    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1232 W. State Rd 2
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
La Porte                      IN      46350
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Texas Health
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                   $100.00
Pendrick Capital Partners, LLC                           Last 4 digits of account number       3    6    0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Peritus Portfolio Services II, LLC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 141419                                                Contingent
                                                             Unliquidated
                                                             Disputed
Irving                        TX      75014
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.21                                                                                                                                   $401.10
Phoenix Asset Group, LLC                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
16526 W. 78th Street, Suite 353
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Eden Prairie                  MN      55317
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Cottonwood Financial
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                     $0.00
Phoenix Financial Services, LLC                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 361450
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianapolis                  IN      46236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Pendrick Capital Partners II
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                   $151.00
Phoenix Recovery Group                                   Last 4 digits of account number      3 8 3           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/22/2015
1045 Cheever Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 204                                                    Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78217
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Sunset Point
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 10
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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.24                                                                                                                                   $3,840.00
Professional Debt Mediation, Inc.                        Last 4 digits of account number      0 1 7           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/05/2016
7948 Baymeadows Way
Number        Street                                     As of the date you file, the claim is: Check all that apply.
2nd Floor                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Jacksonville                  FL      32256
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Brookside Apts
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                     $85.00
Radiology Partners Dallas                                Last 4 digits of account number       5    6    2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 205214
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75320
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                   $1,584.00
Ray Hubbard Emergency Physicians, PLLC                   Last 4 digits of account number       4    7    1    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
13737 Noel Road, Ste. 1600
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75240-1311
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.27                                                                                                                                   $1,250.00
Resource One Credit Union                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 660077
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75266-0077
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                    $332.37
Southwest Credit Systems                                 Last 4 digits of account number       0    8    4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4120 International Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste 1100                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Carrollton                    TX      75007
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for Time Warner Cable
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                    $108.14
TrueGreen #5420                                          Last 4 digits of account number       1    5    9    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4908 Olson
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75227
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer Debt
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)       19-32994-SGJ-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.30                                                                                                                                   $6,721.00
US Department of Education                               Last 4 digits of account number      4 4 9           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/05/2015
Claims Filing Unit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8973                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Madison                       WI      53708-8973
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                   $5,024.00
US Department of Education                               Last 4 digits of account number      2 0 6           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/05/2015
Claims Filing Unit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8973                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Madison                       WI      53708-8973
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                    $586.76
UT Southwestern Medical Center                           Last 4 digits of account number       8    6    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Account Resolutions Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 848009                                                Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75284-8009
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Bill
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                     Case number (if known)    19-32994-SGJ-7

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


AT&T Moblity II, LLC                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
One AT&T Way                                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
Room 3a104                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Bedminster                      NJ      07921
City                            State   ZIP Code


Baylor Scott & White Medical Center                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3500 Gaston Ave.                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75246
City                            State   ZIP Code


Brookside Apts                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2505 Thomason Circle                                        Line   4.24 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Arlington                       TX      76006
City                            State   ZIP Code


Charter Communications, Inc.                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
400 Atlantic Street                                         Line    4.8 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Stamford                        CT      06901
City                            State   ZIP Code


Charter Communications, Inc.                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
400 Atlantic Street                                         Line    4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Stamford                        CT      06901
City                            State   ZIP Code




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Debtor 1     Karlton Avery Maydwell
Debtor 2     DeShawn Nicole Maydwell                                              Case number (if known)    19-32994-SGJ-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Chase Bank                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 15368                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Wilmington                DE      19850
City                      State   ZIP Code


City of Arlington                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Mail Stop 63-0100                                  Line   4.13 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
P.O. Box 90403                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76004
City                      State   ZIP Code


Clay Cooley Motor Company                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1251 E. Airport Freeway                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number       2    7    7    9
Irving                    TX      75062
City                      State   ZIP Code


Cottonwood Financial Texas, LLC                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
a/k/a The Cash Store                               Line   4.16 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
1901 Gateway Drive                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

Suite 200
                                                   Last 4 digits of account number
Irving                    TX      75038
City                      State   ZIP Code


Debt Recovery Solutions LLC                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
900 Merchants Concourse                            Line   4.22 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Syosset                   NY      11791
City                      State   ZIP Code


Enterprise Rent A Car                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4600 McAuley Pl                                    Line   4.3 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite 510                                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Montgomery                OH      45242
City                      State   ZIP Code




Official Form 106E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                          page 15
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Debtor 1     Karlton Avery Maydwell
Debtor 2     DeShawn Nicole Maydwell                                               Case number (if known)    19-32994-SGJ-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

McLennan County JP Pct 3                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Hon. David W. Pareya                                Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
P.O. Box 495                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
West                      TX      76691
City                      State   ZIP Code


Mesquite Water                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 850287                                     Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Mesquite                  TX      75185
City                      State   ZIP Code


Pendrick Capital Partners, LLC                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Peritus Portfolio Services II, LLC              Line   4.22 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 141419                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Irving                    TX      75014
City                      State   ZIP Code


Six Flags Over Texas                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Steve Martindale, Park President                    Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
2201 Road to Six Flags                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Arlington                 TX      76010
City                      State   ZIP Code


Starla Wiley                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2115 Kingston                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Bullhead City             AZ      86442
City                      State   ZIP Code


T Mobile/T-Mobile USA Inc                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
by American InfoSource LP as agent                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 248848                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Oklahoma City             OK      73124-8848
City                      State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                          page 16
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Debtor 1      Karlton Avery Maydwell
Debtor 2      DeShawn Nicole Maydwell                                            Case number (if known)    19-32994-SGJ-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Texas Health Resources                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 E Border St # 122                              Line   4.22 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76010
City                      State   ZIP Code


Texas Health Resources                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 E Border St # 122                              Line   4.20 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76010
City                      State   ZIP Code


Texas Health Resources                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 E Border St # 122                              Line   4.19 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Arlington                 TX      76010
City                      State   ZIP Code


Time Warner Cable                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
One Time Warner Center                             Line   4.28 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
New York                  NY      10019-8016
City                      State   ZIP Code


Transworld Systems                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 17221                                       Line   4.29 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Wilmington                DE      19850
City                      State   ZIP Code


Transworld Systems Inc.                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2135 E. Primrose, Suite Q                          Line   4.29 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Springfield               MO      65804
City                      State   ZIP Code




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Debtor 1     Karlton Avery Maydwell
Debtor 2     DeShawn Nicole Maydwell                                              Case number (if known)    19-32994-SGJ-7

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

TXU Energy                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Bankruptcy Department                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 650393                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Dallas                    TX      75265
City                      State   ZIP Code


Webbank (Fingerhut)                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 1250                                      Line   4.14 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Saint Cloud               MN      56395
City                      State   ZIP Code


Wells Fargo Card Services                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 10438; MAC F8235-02F                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                 Consumer Debt                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                   Last 4 digits of account number
Des Moines                IA      50306-0438
City                      State   ZIP Code




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Debtor 1       Karlton Avery Maydwell
Debtor 2       DeShawn Nicole Maydwell                                                 Case number (if known)        19-32994-SGJ-7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.             $13,700.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.              $3,800.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $17,500.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $88,035.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $20,007.96


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $108,042.96




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 19
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 Fill in this information to identify your case:
 Debtor 1                Karlton                       Avery                         Maydwell
                         First Name                    Middle Name                   Last Name

 Debtor 2            DeShawn                           Nicole                        Maydwell
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number             19-32994-SGJ-7                                                                                                                   Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $10,849.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                              $10,849.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $17,500.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $108,042.96
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $125,542.96




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $4,165.20
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $4,129.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Karlton Avery Maydwell
Debtor 2      DeShawn Nicole Maydwell                                                      Case number (if known)     19-32994-SGJ-7


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $5,331.13


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                          $13,700.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $3,800.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                         $88,035.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                   $105,535.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1          Karlton                 Avery              Maydwell
                   First Name              Middle Name        Last Name

 Debtor 2            DeShawn               Nicole             Maydwell
 (Spouse, if filing) First Name            Middle Name        Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number       19-32994-SGJ-7                                                                            Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Karlton Avery Maydwell                             X /s/ DeShawn Nicole Maydwell
        Karlton Avery Maydwell, Debtor 1                        DeShawn Nicole Maydwell, Debtor 2

        Date 10/08/2019                                         Date 10/08/2019
             MM / DD / YYYY                                          MM / DD / YYYY




Official Form 106Dec                           Declaration About an Individual Debtor's Schedules                                      page 1
